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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                   )
                                                   )
  PLANNED PARENTHOOD SOUTHEAST,                    )
  INC., et al.,                                    )
                                                   )
                        Plaintiffs,                ) Civil Action No. 1:21-cv-00117 (JEB)
                                                   )
        v.                                         )
                                                   )
 XAVIER BECERRA, et al.,                           )
                                                   )
                        Defendants.                )


 SECOND CONSENT MOTION TO EXTEND TIME TO RESPOND TO COMPLAINT

       Plaintiffs filed their Complaint in the above-captioned matter on January 14, 2021.

Defendants’ response to the Complaint is currently due on May 25, 2021. To afford new officials

in the leadership of the defendant agencies sufficient time to become familiar with the issues in

this case, Defendants respectfully request a thirty (30)-day extension of the deadline to respond to

the Complaint, until June 24, 2021. Defendants have conferred with Plaintiffs and Intervenor-

Defendant. Intervenor-Defendant has consented to the requested relief. Plaintiffs authorized the

undersigned to report that “Plaintiffs consent to the requested 30-day extension, but will be

reluctant to consent to further extensions unless Defendants can provide additional information

about how they intend to approach the waiver at issue or this case.”




Dated: May 14, 2021                           Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General
                                              Civil Division

                                              ERIC B. BECKENHAUER
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                           Assistant Branch Director

                           /s/ Christopher M. Lynch
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